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                              UITED STATES DISTRICT COURT
                              SOUTHER DISTRICT OF FLORIDA
                                     MIAMI DIVISIO

                                  CASE NO.: 11-cv-23671-SEITZ

  DISABILITY ADVOCATES AND
  COUNSELING GROUP, INC.,

         Plaintiff,
  vs.

  GROUP AFG, INC.,

        Defendant.
  _____________________________________/

    JOIT OTICE OF WITHDRAWAL OF PEDIG MOTIOS AD REQUEST TO
         RETAI JURISDICTIO THROUGH AD ICLUDIG JULY 1, 2014

         Plaintiff Disability Advocates and Counseling Group, Inc. (hereinafter, “Plaintiff”) and

  Defendant Group AFG, Inc. (hereinafter, “Defendant”), by and through their respective counsel,

  and in compliance with the Magistrate’s Order at DE 43, hereby provide the Court with their

  Joint Notice of Withdrawal of their respective, pending motions at DE 19 and DE 28, and request

  that the Court retain jurisdiction over the enforcement of the parties’ settlement agreement and

  this action through and including, July 1, 2014, following which the Court shall not have any

  further jurisdiction over the parties and their settlement agreement.

  Law Offices of William . Charouhis                   The Blumstein Law Firm
  & Associates, P.A.
  Counsel for Plaintiff                                 Counsel for Defendant
  By: s/ William N. Chouhis         /                   By: s/ Mark Blumstein /
        William N. Charouhis, Esq.                            Mark Blumstein, Esq.
        Fla. Bar No.: 510076                                  Fla. Bar No.: 90700
        Suite 1750 – Brickell Bayview Centre                  One Turnberry Place, Suite 411
        80 SW 8 Street                                        19495 Biscayne Boulevard
        Miami, FL 33130                                       Aventura, FL 33180
        Tel: 305.979.8700                                     Tel: 786.514.1604

  Dated: February 7, 2014                               Dated: February 7, 2014
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                                                                CASE NO. 11-cv-23671-SEITZ



                                CERTIFICATE OF SERVICE

         I hereby certify that on this 7th day of February, 2014, a true and correct copy of the

  foregoing document was served via CM/ECF to: William N. Charouhis, Esq., Counsel for

  Plaintiff, William Nicholas Charouhis & Associates, Suite 1750, Brickell Bayview Centre,

  Eighty S.W. Eighth Street, Miami, Florida 33130.

                                             By: /s/ Mark Blumstein_________
                                                    Mark Blumstein
                                                    Fla. Bar No.: 90700
                                                    The Blumstein Law Firm
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